                      Case 1:24-cv-03188                  Document 1-16         Filed 11/12/24      Page 1 of 1

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JOHNSON & JOHNSON HEALTH CARE SYSTEMS
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      XAVIER BECERRA, SECRETARY OF THE
       U.S. DEPARTMENT OF HEALTH AND
             HUMAN SERVICES, et al.

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7R 'HIHQGDQW¶VQDPHDQGDGGUHVV Attorney General Merrick B. Garland
                                          United States Department of Justice
                                          950 Pennsylvania Avenue NW
                                          Washington DC 20530




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ZKRVHQDPHDQGDGGUHVVDUH Jeffrey L. Handwerker
                                          Arnold & Porter Kaye Scholer LLP
                                          601 Massachusetts Ave., NW
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